






Opinion issued June 5, 2003









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-03-00330-CV

____________


ANTHONY W. HUERMAN &amp; HORIZON CAPITAL VENTURES CORP.,
Appellant


V.


JEFFREY D. DEMENT, Appellee






On Appeal from the County Civil Court at Law No. 2

Harris County, Texas

Trial Court Cause No. 760637






MEMORANDUM OPINION

	Appellants have filed a motion to dismiss their appeal.  More than 10 days have
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(2).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Hedges, Nuchia, and Keyes.


